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AO 93& () :DUUDQW E\ 7HOHSKRQH RU 2WKHU 5HOLDEOH (OHFWURQLF 0HDQV (Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-sw-60
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                           ATTACHMENT A
               DESCRIPTION OF PROPERTY TO BE SEARCHED

      The property is a black in color Motorola cellphone which is currently in the

possession of the Federal Bureau of Investigation at the Washington Field Office, 601

4th Street Northwest, Washington, DC. The photographs below depict the TARGET

DEVICE:
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                                  ATTACHMENT B

                  ITEMS TO BE SEARCHED FOR AND SEIZED

      This warrant authorizes the search and seizure of the items listed below from

the TARGET DEVICE identified in Attachment A, in order to locate property,

evidence, fruits, and instrumentalities of violations of 18 U.S.C. § 1752(a) (Restricted

Entry), 40 U.S.C. § 5104(e)(2) (Unlawful Activities on Capitol Grounds), 18 U.S.C.

§ 1512(c)(2) (Obstruction), and 18 U.S.C. § 922(g)(1) (Unlawful Possession of a

Firearm).

   a. Evidence of whether DRESCH used, owned, possessed, or controlled firearms

      and ammunition.

   b. Evidence of who used, owned, or controlled the TARGET DEVICE, such as logs,

      registry entries, configuration files, saved usernames and passwords,

      documents, browsing history, user profiles, email, email contacts, “chat,”

      instant messaging logs, photographs, and correspondence;

   c. Any input/output peripheral devices, passwords, data security devices, and

      related security documentation that could be related to the TARGET DEVICE;

   d. Evidence of software that would allow someone or something other than the

      user to control the TARGET DEVICE, such as viruses, Trojan horses, spyware,

      malware, and other forms of malicious software, as well as evidence of the

      presence or absence of security software designed to detect malicious software;

   e. Evidence of the lack of such malicious software on the TARGET DEVICE;
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f. Evidence of software designed to protect the TARGET DEVICE from other

     persons, software, devices, or intrusions that may attempt to infiltrate, access,

     or control the TARGET DEVICE, such as pop-up blockers, security software,

     password protection, and encryption;

g. Evidence of other storage devices being attached to the TARGET DEVICE;

h. Evidence of the times the TARGET DEVICE was used;

i. Evidence of where the TARGET DEVICE was used, including evidence of

     wireless Internet networks and Internet Protocol (IP) addresses;

j.   Passwords, encryption keys, and other access devices or programs that may be

     necessary to access the TARGET DEVICE;

k. Documentation and manuals that may be necessary to access the TARGET

     DEVICE or to conduct a forensic examination of the TARGET DEVICE;

l. Records of or information about Internet Protocol addresses used by the

     TARGET DEVICE;

m. Records of or information about the TARGET DEVICE’s Internet activity:

     firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”

     web pages, search terms that the user entered into any Internet search engine,

     and records of user-typed web addresses;




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n. Any and all records, documents, invoices, notes and materials that pertain to

   accounts with any Internet Service Provider, as well as any and all records

   relating to the ownership or use of the TARGET DEVICE;

o. Credit card information, bills, mail, correspondence, and payment records

   indicating who owns and/or controls the TARGET DEVICE;

p. Additional documents and records regarding the ownership and/or possession

   of the TARGET DEVICE; and

q. Information that constitutes evidence of the identification or location of the

   user(s) of the TARGET DEVICE;

r. Information that constitutes evidence concerning persons who either (i)

   collaborated, conspired, or assisted (knowingly or unknowingly) the

   commission of the criminal activity under investigation; or (ii) communicated

   with the TARGET DEVICE about matters relating to the criminal activity under

   investigation, including records that help reveal their whereabouts;

s. Information that constitutes evidence indicating the TARGET DEVICE user’s

   state of mind, e.g., intent, absence of mistake, or evidence indicating preparation

   or planning, related to the criminal activity under investigation;

t. Information that constitutes evidence concerning how and when the TARGET

   DEVICE was accessed or used, to determine the geographic and chronological



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   context of account access, use, and events relating to the crime under

   investigation and to the TARGET DEVICE user;

u. Information that constitutes evidence concerning whether KARL DRESCH

   and/or any other person entered the U.S. Capitol Building on January 6, 2021;

v. Information that constitutes evidence concerning the January 6, 2021, conduct

   of KARL DRESCH and/or any other person who entered the U.S. Capitol

   Building on January 6, 2021;

w. Information that constitutes evidence concerning the intent of KARL DRESCH

   and/or any other person to knowingly enter the U.S. Capitol Building on

   January 6, 2021;

x. Evidence concerning whether the conduct of KARL DRESCH and/or any other

   person impeded or disrupted or obstructed the conduct of the U.S. government

   business or any proceeding or inquiry of Congress on January 6, 2021;

y. Evidence indicating the state of mind of KARL DRESCH and/or any other

   person on January 6, 2021, while on the way to the Capitol Building, while

   attempting to enter the Capitol Building, and/or while in the Capitol Building;

   and

z. Preparatory actions, planning, coordination or communication related to KARL

   DRESCH’s and/or any other person’s entry into the U.S. Capitol Building on

   January 6, 2021.

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aa. Information relating the whereabouts or travel of KARL DRESCH for January

   6, 2021, including records of travel to and from Washington D.C., such as

   receipts, travel itineraries, or maps;

bb. any information pertaining to the identity or location of co-conspirators;

cc. Evidence of user attribution showing who used or owned the TARGET DEVICE

   at the time the things described in this warrant were created, edited, or deleted,

   such as logs, phonebooks, saved usernames and passwords, documents, and

   browsing history;

dd.As used above, the terms “records” and “information” include all of the

   foregoing items of evidence in whatever form and by whatever means they may

   have been created or stored, including any form of computer or electronic

   storage (such as flash memory or other media that can store data) and any

   photographic form.




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

     IN THE MATTER OF THE SEARCH OF
     ONE BLACK MOTOROLA MOTO e6
     PHONE CURRENTLY LOCATED AT FBI
     WFO 601 4th Street, Northwest,              SW No. ____21-sw-60_______
     Washington, D.C.
     UNDER RULE 41



         AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                 FOR A WARRANT TO SEARCH AND SEIZE

         I, Matthew J. Drummond, being first duly sworn, hereby depose and state as

 follows:

                  INTRODUCTION AND AGENT BACKGROUND

1.       I make this affidavit in support of an application under Rule 41 of the Federal

         Rules of Criminal Procedure for a search warrant authorizing the examination

         of property—a digital device—which is currently in law enforcement

         possession (the “TARGET DEVICE”), as described in Attachment A, and the

         extraction from that property of electronically stored information as described

         in Attachment B.

2.       I am a Special Agent of the Federal Bureau of Investigation (FBI) and have been

         so employed since July 2009. I have a Bachelor’s Degree in Anthropology from

         the University of Pennsylvania. I attended the FBI Academy in Quantico,


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Virginia, completing the New Agents Training in November 2009.               I am

presently assigned to a Public Corruption Squad in FBI’s Washington Field

Office.   As a Special Agent with the FBI, I have conducted criminal

investigations related to public corruption, as well as national security

investigations related to counterterrorism. My training and experience have

involved, among other things, interviewing witnesses and confidential human

sources, executing court-authorized search warrants, conducting surveillance,

and analyzing documentary and physical evidence.              As a federal law

enforcement officer, I am authorized to investigate violations of federal law and

to execute warrants issued under the authority of the United States. Through

my training and experience, I am familiar with the actions, habits, traits,

methods, and terminology utilized by criminal offenders. My duties include the

investigation of various violations of federal criminal law, including matters

involving violations of 18 U.S.C. § 1752(a) (Restricted Entry), 40 U.S.C. §

5104(e)(2) (Unlawful Activities on Capitol Grounds), and 18 U.S.C. § 1512(c)(2)

(Obstruction), which are collectively referred to in this affidavit as the “Subject

Offenses.” My duties also include investigation of violations of other federal




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     criminal laws, including 18 U.S.C. § 922(g), which relates to the unlawful

     possession of firearms.

3.   This continuation is based on the investigation, observations, and/or

     experience of myself, FBI Special Agent John Fortunato, as well as other law

     enforcement officers. I have not included each and every fact known to me

     concerning this investigation. I have set forth the facts that I believe are

     necessary to establish probable cause to believe that evidence, fruits, and

     instrumentalities of the Subject Offenses will be revealed during a search of the

     TARGET DEVICE identified in Attachment A.

4.   Based on my training and experience and the facts set forth in this affidavit, I

     respectfully submit that there is probable cause to believe that violations of the

     Subject Offenses, as defined above, have been committed by KARL DRESCH.

     There is also probable cause to search the TARGET DEVICE, further described

     in Attachment A, for the things described in Attachment B.

           IDENTIFICATION OF THE DEVICE TO BE EXAMINED

5.   The property to be searched is a black Motorola Moto 6E phone, that is, the

     TARGET DEVICE.

6.   The TARGET DEVICE is currently located at the FBI Washington Field Office,

     601 4th Street, Northwest, Washington, D.C.




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                               PROBABLE CAUSE

              Background – The U.S. Capitol on January 6, 2021

7.   U.S. Capitol Police (USCP), the FBI, and assisting law enforcement agencies are

     investigating a riot and related offenses that occurred at the United States

     Capitol Building, located at 1 First Street, NW, Washington, D.C., 20510 at

     latitude 38.88997 and longitude -77.00906 on January 6, 2021.

8.   At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square

     feet of ground, roughly four acres. The building is 751 feet long (roughly 228

     meters) from north to south and 350 feet wide (106 meters) at its widest point.

     The U.S. Capitol Visitor Center is 580,000 square feet and is located

     underground on the east side of the Capitol. On the west side of the Capitol

     building is the West Front, which includes the inaugural stage scaffolding, a

     variety of open concrete spaces, a fountain surrounded by a walkway, two

     broad staircases, and multiple terraces at each floor. On the East Front are three

     staircases, porticos on both the House and Senate side, and two large skylights

     into the Visitor’s Center surrounded by a concrete parkway. All of this area

     was barricaded and off limits to the public on January 6, 2021.

9.   The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the

     U.S. Capitol include permanent and temporary security barriers and posts




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      manned by USCP. Only authorized people with appropriate identification are

      allowed access inside the U.S. Capitol.

10.   On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

      of the public.

11.   On January 6, 2021, a joint session of the United States Congress convened at

      the U.S. Capitol. During the joint session, elected members of the United States

      House of Representatives and the United States Senate were meeting in

      separate chambers of the U.S. Capitol to certify the vote count of the Electoral

      College of the 2020 Presidential Election, which took place on November 3, 2020

      (“Certification”). The joint session began at approximately 1:00 p.m. Eastern

      Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m. EST, the

      House and Senate adjourned to separate chambers to resolve a particular

      objection. Vice President Mike Pence was present and presiding, first in the

      joint session, and then in the Senate chamber.

12.   As the proceedings continued in both the House and the Senate, and with Vice

      President Mike Pence present and presiding over the Senate, a large crowd

      gathered outside the U.S. Capitol. As noted above, temporary and permanent

      barricades were in place around the exterior of the U.S. Capitol building, and




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      USCP were present and attempting to keep the crowd away from the Capitol

      building and the proceedings underway inside.

13.   At around 1:00 p.m. EST, known and unknown individuals broke through the

      police lines, toppled the outside barricades protecting the U.S. Capitol, and

      pushed past USCP and supporting law enforcement officers there to protect the

      U.S. Capitol.

14.   At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the

      House Cannon Office Building and the Library of Congress James Madison

      Memorial Building in part because of a suspicious package found nearby. Pipe

      bombs were later found near both the Democratic National Committee and

      Republican National Committee headquarters.

15.   Media reporting showed a group of individuals outside of the Capitol chanting,

      “Hang Mike Pence.” I know from this investigation that some individuals

      believed that Vice President Pence possessed the ability to prevent the

      certification of the presidential election and that his failure to do so made him

      a traitor.

16.   At approximately 2:00 p.m. EST, some people in the crowd forced their way

      through, up, and over the barricades and law enforcement.             The crowd

      advanced to the exterior façade of the building. The crowd was not lawfully

      authorized to enter or remain in the building and, prior to entering the building,


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      no members of the crowd submitted to security screenings or weapons checks

      by U.S. Capitol Police Officers or other authorized security officials. At such

      time, the certification proceedings were still underway and the exterior doors

      and windows of the U.S. Capitol were locked or otherwise secured. Members

      of law enforcement attempted to maintain order and keep the crowd from

      entering the Capitol.

17.   Shortly after 2:00 p.m. EST, individuals in the crowd forced entry into the U.S.

      Capitol, including by breaking windows and by assaulting members of law

      enforcement, as others in the crowd encouraged and assisted those acts.

      Publicly available video footage shows an unknown individual saying to a




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      crowd outside the Capitol building, “We’re gonna fucking take this,” which

      your affiant believes was a reference to “taking” the U.S. Capitol.




18.   Shortly thereafter, at approximately 2:20 p.m. EST, members of the United

      States House of Representatives and United States Senate, including the

      President of the Senate, Vice President Mike Pence, were instructed to—and

      did—evacuate the chambers. That is, at or about this time, USCP ordered all

      nearby staff, Senators, and reporters into the Senate chamber and locked it

      down. USCP ordered a similar lockdown in the House chamber. As the

      subjects attempted to break into the House chamber, by breaking the windows




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      on the chamber door, law enforcement were forced to draw their weapons to

      protect the victims sheltering inside.

19.   At approximately 2:30 p.m. EST, known and unknown subjects broke windows

      and pushed past USCP and supporting law enforcement officers forcing their

      way into the U.S. Capitol on both the west side and the east side of the building.

      Once inside, the subjects broke windows and doors, destroyed property, stole

      property, and assaulted federal police officers. Many of the federal police

      officers were injured and several were admitted to the hospital. The subjects

      also confronted and terrorized members of Congress, Congressional staff, and

      the media. The subjects carried weapons including tire irons, sledgehammers,

      bear spray, and tasers. They also took police equipment from overrun police

      including shields and police batons. At least one of the subjects carried a

      handgun with an extended magazine.            These actions by the unknown




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      individuals resulted in the disruption and ultimate delay of the vote

      Certification.

20.   Also at approximately 2:30 p.m. EST, USCP ordered the evacuation of

      lawmakers, Vice President Mike Pence, and president pro tempore of the

      Senate, Charles Grassley, for their safety.

21.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

      Pelosi.

22.   At around 2:47 p.m. EST, subjects broke into the United States Senate Chamber.

      Publicly available video shows an individual asking, “Where are they?” as they

      opened up the door to the Senate Chamber. Based upon the context, law




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      enforcement believes that the word “they” is in reference to members of

      Congress.




23.   After subjects forced entry into the Senate Chamber, publicly available video

      shows that an individual asked, “Where the fuck is Nancy?” Based upon other




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comments and the context, law enforcement believes that the “Nancy” being

referenced was the Speaker of the House of Representatives, Nancy Pelosi.




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24.   One subject left a note on the podium on the floor of the Senate Chamber. This

      note, captured by the filming reporter, stated “A Matter of Time Justice is

      Coming.”




25.   During the time when the subjects were inside the Capitol building, multiple

      subjects were observed inside the U.S. Capitol wearing what appears to be,

      based upon my training and experience, tactical vests and carrying flex cuffs.

      Based upon my knowledge, training, and experience, I know that flex cuffs are




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a manner of restraint that are designed to be carried in situations where a large

number of individuals are expected to be taken into custody.




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26.   At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide

      curfew beginning at 6:00 p.m. EST.

27.   At around 2:45 p.m. EST, one subject was shot and killed while attempting to

      break into the House chamber through the broken windows.

28.   At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

29.   Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the

      U.S. Capitol of all of the subjects.

30.   Based on these events, all proceedings of the United States Congress, including

      the joint session, were effectively suspended until shortly after 8:00 p.m. EST

      the same day. In light of the dangerous circumstances caused by the unlawful



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      entry to the U.S. Capitol, including the danger posed by individuals who had

      entered the U.S. Capitol without any security screening or weapons check,

      Congressional proceedings could not resume until after every unauthorized

      occupant had left the U.S. Capitol, and the building had been confirmed

      secured. The proceedings resumed at approximately 8:00 pm after the building

      had been secured. Vice President Pence remained in the United States Capitol

      from the time he was evacuated from the Senate Chamber until the session

      resumed.

31.   Beginning around 8:00 p.m. EST, the Senate resumed work on the Certification.

32.   Beginning around 9:00 p.m. EST, the House resumed work on the Certification.

33.   Both chambers of Congress met and worked on the Certification within the

      Capitol building until approximately 3:00 a.m. EST on January 7, 2021.

34.   During national news coverage of the aforementioned events, video footage

      which appeared to be captured on mobile devices of persons present on the

      scene depicted evidence of violations of local and federal law, including scores

      of individuals inside the U.S. Capitol building without authority to be there.

35.   Based on my training and experience, I know that it is common for individuals

      to carry and use their cell phones during large gatherings, such as the gathering

      that occurred in the area of the U.S. Capitol on January 6, 2021. Such phones

      are typically carried at such gatherings to allow individuals to capture


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      photographs and video footage of the gatherings, to communicate with other

      individuals about the gatherings, to coordinate with other participants at the

      gatherings, and to post on social media and digital forums about the gatherings.

36.   Many subjects seen on news footage in the area of the U.S. Capitol are using a

      cell phone in some capacity. It appears some subjects were recording the events

      occurring in and around the U.S. Capitol and others appear to be taking photos,

      to include photos and video of themselves after breaking into the U.S. Capitol

      itself, including photos of themselves damaging and stealing property. As

      reported in the news media, others inside and immediately outside the U.S.

      Capitol live-streamed their activities, including those described above as well

      as statements about these activities.

                                 Investigation of Karl Dresch

37.   In this context, on January 7, 2021, the Federal Bureau of Investigation received

      a tip that Karl DRESCH, a resident of Calumet, Michigan, was at the U.S.

      Capitol Building the day before and had entered said building without

      permission or authorization.     The tip indicated that DRESCH had posted

      information describing his own January 6, 2021, entry onto the U.S. Capitol

      Building on his Facebook account. The tipster described the Facebook account,




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      which included the username “Karl Dresch,” and was available online at

      https://www.facebook.com/karl.dresch.7.

38.   Special Agent John Fortunato reviewed publicly available Facebook posts

      which were posted on the account (referred to here as the “FACEBOOK

      ACCOUNT”)       with   username     Karl   Dresch   and   page   located   at

      https://www.facebook.com/karl.dresch.7. Subsequently, on January 12, 2021,

      United States Magistrate Judge Robin Meriweather issued a search warrant

      concerning information associated with the FACEBOOK ACCOUNT.

      Facebook, Inc., responded by providing information and records to the FBI on

      January 13, 2021.

39.   I have reviewed information and records from Facebook and found that, by no

      later than December 16, 2020, DRESCH posted information to the FACEBOOK

      account which was focused on the January 6, 2021, certification, and which

      equated the planned events for January 6, 2021, with the historical events on

      July 4, 1776. For example, on December 16, 2020, DRESCH posted, “Stop the

      Steal,” and on December 20, 2020, DRESCH posted, “7-4-1776 = 1-6-2021.”

40.   By January 3, 2021, DRESCH posted that he was preparing to go to “DC.” and

      was “prepared for chemical attacks and what not.” He also urged others to do

      so by way of his FACEBOOK ACCOUNT, writing, “NO EXCUSES! NO

      RETREAT! NO SURRENDER! TAKE THE STREETS! TAKE BACK OUR


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      COUNTRY! 1/6/2021=7/4/1776.” Between January 3, 2021, and January 6,

      2021, other posts on DRESCH’s FACEBOOK ACCOUNT reflect preparations to

      arrange travel and then travel to Washington, D.C., for that purpose.

41.   On the FACEBOOK ACCOUNT, DRESCH posted photographs, such as the

      photograph depicted in Figure 1, below, which show scenes from the U.S.

      Capitol grounds on January 6, 2021. The photograph in Figure 1 depicts a group

      of individuals approaching the U.S. Capitol Building, which can be seen in the

      background.    The background in the photograph, including the sky and

      weather conditions as well as the depictions of the crowd, are generally

      consistent with the depictions which I have seen from news accounts and other

      reliable sources of photographs and videos of the scene on January 6, 2021. The

      photograph, including the vantage point displayed in the photograph, is

      consistent with a photograph taken by someone on the scene using a cellular

      telephone.




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                                    Figure 1




42.   Facebook records show that, at about 3:13 p.m. on January 6, 2021, DRESCH

      posted the photograph in Figure 2, together with the comment, “Who’s house?

      OUR HOUSE!”

                                    Figure 2




43.   Facebook records show that, at about 3:14 p.m. on January 6, 2021, DRESCH

      posted the photograph depicted in Figure 3. This photograph was posted with


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      DRESCH posted the video with the comment, “Okay all you conspiracy

      theorists [winking smiley face emoji] don’t worry I loves yous all just setting

      the record straight.antifa did not take the capitol.that was Patriots, I can’t

      guarantee there weren’t some shit birds in the crowd but what multi-million

      crowd can you guarantee?.don’t give them the thunder, we the people took

      back our house, the news is all bullshit.and now those traitors Know who’s

      really in charge. And I can’t say I saw any violence from our people, despite all

      the poking of the capitol police, gassing randomly into the women and children

      being peaceful, beating old men we kept chill[.]”

47.   While inside the Capitol, DRESCH also exchanged messages with other

      Facebook users. On January 6, 2021, at about 2:43 pm, prior to posting Figures

      2 and 3, DRESCH exchanged messages with another Facebook user, referred to

      here as “USER TWO.” At 2:43 p.m., USER TWO wrote, “Patriots are in the




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      Capitol building now.” DRESCH responded at 2:44 p.m., writing, “I am,” and

      also sent the photograph depicted in Figure 5.

                                      Figure 5




48.   Figure 5 is cropped to ensure that it fits on the page, but the rest of the

      photograph depicts only the floor. A complete copy of the photograph was

      provided to a member of the U.S. Capitol Police, who stated that the photo

      appeared to depict inside the Capitol Visitor’s Center, and that it appears to




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      show the part of the Visitor’s Center that is closer to the House of

      Representatives.

49.   USER TWO wrote at 2:48 p.m., that, “Word is police are getting ready to use

      tear gas.” DRESCH responded, “Been using it. Mask up.”

50.   DRESCH also corresponded with a Facebook user referred to here as “USER

      THREE.” According to Facebook records, at 5:17 p.m., DRESCH sent USER

      THREE a “selfie” or self-portrait photograph, together with the message, “Just

      had a beer on our front porch.” Figure 6 is a copy of that “selfie” photograph,

      which shows DRESCH outside of the Capitol Building.

                                      Figure 6




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51.   A minute later, at about 5:18 p.m., DRESCH sent USER THREE the same

      photograph depicted above in Figure 3, together with the comment, “That's

      right outside the house of representative...we got in! Took a lil gas ...wtf I love

      masks now!”

52.   DRESCH provided additional context about the scene, writing to USER THREE,

      “Had the cops booking it.” He did not explain further or provide any additional

      photographs.

53.   DRESCH also responded to other people’s comments on Facebook.                  For

      example, at about 4:46 p.m., in response to another post, DRESCH wrote, “It

      was peaceful…still got a lil gas tho…mask on for safety[.]” In response to

      another person who wrote about the individuals who were breaking into the

      Senate and House chambers and breaking glass and shoving officers, at around

      6:09 p.m., DRESCH wrote, “we broke no glass no shoving I seen[.]”

54.   Later that evening, DRESCH expressed his approval of the events of the day.

      At about 8:32 p.m., commenting on a picture of a crowd at the Washington

      Monument, DRESCH posted, “Total Victory!” At 8:44 p.m., DRESCH posted,

      “I’m excited!” The next day, on January 7, 2021, at about 9:36 a.m., DRESCH

      commented on an unidentified post that, “Mike Pence gave our country to the

      communist hordes, traitor scum like the rest of them, we have your back give

      the word and we will be back even stronger.” The underlying post belonged to


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      another Facebook user, and Facebook’s production of information and records

      here did not include a copy of that post or identify its user.

55.   Finally, on January 8, 2021, around 11:35 a.m., DRESCH sent another user the

      photograph depicted in Figure 7. Facebook records do not include the date or

      time the photograph was taken. However, I provided a copy of the photograph

      to a member of the U.S. Capitol Police, who stated that the photograph was

      taken in the Crypt of the U.S. Capitol, the same location as Figure 3, and that it

      showed the statute of John Caldwell Calhoun. In addition, I reviewed the

      photograph closely and compared it with the “selfie” photograph in Figure 6. I

      noticed that the person pictured in both photographs appears to be wearing the

      same distinctive clothing – a jacket or blazer-style jacket and a plaid multicolor

      shirt with some reddish coloring, over a hooded sweatshirt, and a baseball-style

      cap. The photograph for Figure 7, which depicts more of the subject’s body,

      also shows that the subject was wearing dark-colored pants or jeans, black

      gloves, and reflective sunglasses, and carrying large flags.




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                                      Figure 7




56.   In addition, I have reviewed a copy of DRESCH’s Michigan Driver’s License

      picture and compared it to the profile pictures for the FACEBOOK ACCOUNT,

      as well as the “selfie” depicted in Figure 6. Based on the comparison between

      those two pictures, I believe that there is probable cause to believe that both

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      pictures depict DRESCH.      I further believe, based on a comparison of those

      pictures with Figure 6 and Figure 7, as well as the other evidence described

      above (including the description of clothing), that there is probable cause to

      believe that all of these pictures depict DRESCH.

57.   Finally, Facebook records show that the FACEBOOK ACCOUNT is associated

      with a mobile telephone number,                          .    The FACEBOOK

      ACCOUNT was frequently accessed from IP addresses that, according to

      publicly available WHOIS records, are registered to Verizon Wireless and its

      affiliates. In addition, a search of law enforcement databases, which in my

      training and experience are reliable sources of this type of information, also

      show that                  was serviced by Verizon Wireless and its affiliates.

58.   On January 19, 2021, the FBI conducted surveillance of DRESCH’s residence,

      which is the premises located at                                                  .

      Shortly after observing DRESCH at the residence on that date, law enforcement

      arrested DRESCH outside the residence.

59.   In connection with the arrest of DRESCH, law enforcement seized the TARGET

      DEVICE from DRESCH. The TARGET DEVICE is a black in color Motorola

      cellphone. The TARGET DEVICE is currently in “airplane mode,” which means

      that it will not receive signals. In addition, the exterior of the TARGET DEVICE

      does not identify its model, and as a result it has not been positively confirmed


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whether the TARGET DEVICE is a Motorola Moto e6. The TARGET DEVICE

is currently in the possession of the FBI at the FBI Washington Field Office, 601

4th Street Northwest, Washington, DC.       The photographs below depict the

TARGET DEVICE:




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60.   Later on January 19, 2021, after DRESCH was arrested, the FBI executed search

      warrants at DRESCH’s residence, and on DRESCH’s vehicle. These searches




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        led to the recovery of additional evidentiary items, but did not result in the

        seizure of any other cellphones.1

61.     In addition, during execution of the search warrant at DRESCH’s residence,

        agents recovered additional evidence, including a bag which contained a

        receipt from a hotel in Washington, D.C. The physical appearance of the bag

        was consistent with the appearance of the bag depicted in Figure 7.

62.     Agents also observed, inside the same bag, eight boxes of 7.62 ammunition,

        which is the type of ammunition consistent with a rifle. The bag also contained

        a handheld CB radio, a Whistler laser/radar detector, a D.C. Metro Pass, and a

        hotel receipt for a hotel in Chantilly, Virginia, for Karl DRESCH for an arrival

        date of January 5, 2021, and a departure date of January 7, 2021, among other

        items. The photographs below depict the boxes of 7.62 ammunition, the CB

        radio, and the laser/radar detector:




1
 The agents executing the search warrants observed one cellphone in the residence, but it appeared
dusty and had a cracked screen, did not appear to have been in recent use, and was an LG-brand
phone, not a Motorola phone.

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63.   The home was unoccupied and unsecured, and agents knew that DRESCH had

      previously been convicted of a crime punishable by more than one year in

      prison. Specifically, in 2014, in Florence County Circuit Court in Wisconsin, in

      Case No. 2013CF000010, DRESCH was convicted of Fleeing and Eluding an

      Officer, in violation of Wisconsin Statutes 941.30(1), a Class I Felony which is

      punishable by more than one year in prison.

64.   During execution of the search warrant, agents also observed, in plain sight in

      an upstairs bedroom, a gun bag which, in plain sight, appeared to be a bag

      designed to hold a rifle. Agents opened the bag and found that it contained a

      Russian SKS-style rifle with a bayonet affixed to the barrel. The rifle was

      designed to fire 7.62 ammunition, consistent with the type of ammunition

      recovered from the bag. Agents also recovered upstairs, in plain sight, a

      shotgun.

65.   On January 22, 2021, at 2:45 pm, Magistrate Judge Maarten Vermaat of the

      Western District of Michigan authorized by telephone a search warrant to

      search TARGET DEVICE. Due to logistical issues, the FBI was not able to

      execute this search warrant from the Western District of Michigan before it

      expired on February 4, 2021.




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66.   On or about February 3, 2021, DRESCH was indicted by a federal grand jury

      sitting in the District of Columbia for violations of 18 U.S.C. § 1512 (obstruction

      of a federal proceeding); 18 U.S.C. § 1752 (a)(1) (entering and remaining in a

      restricted building or grounds); 18 U.S.C. § 1752(a)(2) (disorderly and

      disruptive conduct in a restricted building or grounds); 40 U.S.C. § 5104(e)(2)(D)

      (disorderly conduct in a Capitol Building); and 40 U.S.C. § 5104(e)(2)(G)

      (parading, demonstrating, or picketing in a Capitol Building).

67.   Based on the evidence above, including the video and images above, I submit

      that there is probable cause to believe that DRESCH used a Motorola Moto e6

      cellphone to record the video and images described above, and to post, or

      publish, the video, images, and writings described above on social media

      accounts. I further submit that there is probable cause to believe that DRESCH

      uses a cellular phone with the telephone number +1-906-231-1623.

68.   The TARGET DEVICE was transferred to the FBI Washington Field Office on

      or about January 27, 2021. It is currently being held in evidence at the

      Washington Field Office in Washington D.C. Following execution of this search

      warrant, the FBI will transfer the TARGET DEVICE to the Washington Field

      Office’s Northern Virginia Resident Agency in Manassas, Virginia for

      extraction and exploitation of data.




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69.   Based on the foregoing, as well as the additional technical information below, I

      respectfully submit that there is probable cause to search the TARGET DEVICE

      described in Attachment A, for the items described in Attachment B, and that

      said items will constitute and contain evidence of the Subject Offenses.

                               TECHNICAL TERMS

70.   Based on my training and experience, I use the following technical terms to

      convey the following meanings:

         a. Wireless telephone:    A wireless telephone (or mobile telephone, or

            cellular telephone) is a handheld wireless device used for voice and data

            communication through radio signals. These telephones send signals

            through networks of transmitter/receivers, enabling communication

            with other wireless telephones or traditional “land line” telephones. A

            wireless telephone usually contains a “call log,” which records the

            telephone number, date, and time of calls made to and from the phone.

            In addition to enabling voice communications, wireless telephones offer

            a broad range of capabilities. These capabilities include: storing names

            and phone numbers in electronic “address books;” sending, receiving,

            and storing text messages and e-mail; taking, sending, receiving, and

            storing still photographs and moving video; storing and playing back

            audio files; storing dates, appointments, and other information on


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      personal calendars; and accessing and downloading information from

      the Internet. Wireless telephones may also include global positioning

      system (“GPS”) technology for determining the location of the device.


   b. Digital camera: A digital camera is a camera that records pictures as

      digital picture files, rather than by using photographic film. Digital

      cameras use a variety of fixed and removable storage media to store their

      recorded images. Images can usually be retrieved by connecting the

      camera to a computer or by connecting the removable storage medium

      to a separate reader. Removable storage media include various types of

      flash memory cards or miniature hard drives. Most digital cameras also

      include a screen for viewing the stored images. This storage media can

      contain any digital data, including data unrelated to photographs or

      videos.


   c. Portable media player: A portable media player (or “MP3 Player” or

      iPod) is a handheld digital storage device designed primarily to store

      and play audio, video, or photographic files. However, a portable media

      player can also store other digital data. Some portable media players can

      use removable storage media. Removable storage media include various

      types of flash memory cards or miniature hard drives. This removable


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      storage media can also store any digital data. Depending on the model,

      a portable media player may have the ability to store very large amounts

      of electronic data and may offer additional features such as a calendar,

      contact list, clock, or games.


   d. GPS: A GPS navigation device uses the Global Positioning System to

      display its current location. It often records the locations where it has

      been. Some GPS navigation devices can give a user driving or walking

      directions to another location. These devices can contain records of the

      addresses or locations involved in such navigation.         The Global

      Positioning System (generally abbreviated “GPS”) consists of 24

      NAVSTAR satellites orbiting the Earth.       Each satellite contains an

      extremely accurate clock. Each satellite repeatedly transmits by radio a

      mathematical representation of the current time, combined with a special

      sequence of numbers.         These signals are sent by radio, using

      specifications that are publicly available. A GPS antenna on Earth can

      receive those signals. When a GPS antenna receives signals from at least

      four satellites, a computer connected to that antenna can mathematically

      calculate the antenna’s latitude, longitude, and sometimes altitude with

      a high level of precision.



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   e. PDA: A personal digital assistant, or PDA, is a handheld electronic

      device used for storing data (such as names, addresses, appointments or

      notes) and utilizing computer programs. Some PDAs also function as

      wireless communication devices and are used to access the Internet and

      send and receive e-mail. PDAs usually include a memory card or other

      removable storage media for storing data and a keyboard and/or touch

      screen for entering data. Removable storage media include various types

      of flash memory cards or miniature hard drives. This removable storage

      media can store any digital data. Most PDAs run computer software,

      giving them many of the same capabilities as personal computers. For

      example, PDA users can work with word-processing documents,

      spreadsheets, and presentations.     PDAs may also include global

      positioning system (“GPS”) technology for determining the location of

      the device.


   f. Tablet: A tablet is a mobile computer, typically larger than a phone yet

      smaller than a notebook, that is primarily operated by touching the

      screen. Tablets function as wireless communication devices and can be

      used to access the Internet through cellular networks, 802.11 “wi-fi”

      networks, or otherwise. Tablets typically contain programs called apps,



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      which, like programs on a personal computer, perform different

      functions and save data associated with those functions. Apps can, for

      example, permit accessing the Web, sending and receiving e-mail, and

      participating in Internet social networks.


   g. Pager: A pager is a handheld wireless electronic device used to contact

      an individual through an alert, or a numeric or text message sent over a

      telecommunications network. Some pagers enable the user to send, as

      well as receive, text messages.


   h. IP Address: An Internet Protocol address (or simply “IP address”) is a

      unique numeric address used by computers on the Internet. An IP

      address is a series of four numbers, each in the range 0-255, separated by

      periods (e.g., 121.56.97.178). Every computer attached to the Internet

      computer must be assigned an IP address so that Internet traffic sent

      from and directed to that computer may be directed properly from its

      source to its destination. Most Internet service providers control a range

      of IP addresses. Some computers have static—that is, long-term—IP

      addresses, while other computers have dynamic—that is, frequently

      changed—IP addresses.




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          i. Internet: The Internet is a global network of computers and other

             electronic devices that communicate with each other.         Due to the

             structure of the Internet, connections between devices on the Internet

             often cross state and international borders, even when the devices

             communicating with each other are in the same state.


71.    Based on my training, experience, I know that the TARGET DEVICE has

       capabilities that allow it to serve as a wireless telephone, digital camera,

       portable media player, GPS navigation device, and PDA. In my training and

       experience, examining data stored on devices of this type can uncover, among

       other things, evidence that reveals or suggests who possessed or used the

       device.

      COMPUTERS, ELECTRONIC/MAGNETIC STORAGE, AND FORENSIC
                            ANALYSIS

72.    As described above and in Attachment B, this application seeks permission to

       search for evidence, fruits, contraband, instrumentalities, and information that

       might be found within the TARGET DEVICE, in whatever form they are found.

       Based on my knowledge, training, and experience, as well as information

       related to me by agents and others involved in this investigation and in the

       forensic examination of digital devices, I respectfully submit that there is

       probable cause to believe that the records and information described in


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Attachment B will be stored in the TARGET DEVICE for at least the following

reasons:

a.           Individuals who engage in the criminal activity described above

      utilized cellular telephone devices, like the Target Device, to access

      websites to facilitate illegal activity and to communicate with co-

      conspirators online; to store on digital devices, like the Device,

      documents and records relating to their illegal activity, which can

      include logs of online chats with co-conspirators; email correspondence;

      text or other “Short Message Service” (“SMS”) messages; contact

      information of co-conspirators, including telephone numbers, email

      addresses, identifiers for instant messaging and social medial accounts;

      stolen financial and personal identification data, including bank account

      numbers, credit card numbers, and names, addresses, telephone

      numbers, and social security numbers of other individuals; and records

      of illegal transactions using stolen financial and personal identification

      data, to, among other things, (1) keep track of co-conspirator’s contact

      information; (2) keep a record of illegal transactions for future reference;

      (3) keep an accounting of illegal proceeds for purposes of, among other




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      things, splitting those proceeds with co-conspirators; and (4) store stolen

      data for future exploitation.

b.           Individuals who engage in the foregoing criminal activity, in the

      event that they change digital devices, will often “back up” or transfer

      files from their old digital devices to that of their new digital devices, so

      as not to lose data, including that described in the foregoing paragraph,

      which would be valuable in facilitating their criminal activity.

c.           Digital device files, or remnants of such files, can be recovered

      months or even many years after they have been downloaded onto the

      medium or device, deleted, or viewed via the Internet. Electronic files

      downloaded to a digital device can be stored for years at little or no cost.

      Even when such files have been deleted, they can be recovered months

      or years later using readily-available forensics tools. When a person

      “deletes” a file on a digital device such as a home computer, a smart

      phone, or a memory card, the data contained in the file does not actually

      disappear; rather, that data remains on the storage medium and within

      the device unless and until it is overwritten by new data. Therefore,

      deleted files, or remnants of deleted files, may reside in free space or

      slack space – that is, in space on the digital device that is not allocated to

      an active file or that is unused after a file has been allocated to a set block


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             of storage space – for long periods of time before they are overwritten.

             In addition, a digital device’s operating system may also keep a record

             of deleted data in a “swap” or “recovery” file. Similarly, files that have

             been viewed via the Internet are automatically downloaded into a

             temporary Internet directory or “cache.”           The browser typically

             maintains a fixed amount of electronic storage medium space devoted to

             these files, and the files are only overwritten as they are replaced with

             more recently viewed Internet pages.         Thus, the ability to retrieve

             “residue” of an electronic file from a digital device depends less on when

             the file was downloaded or viewed than on a particular user’s operating

             system, storage capacity, and computer, smart phone, or other digital

             device habits.

73.   As further described in Attachment B, this application seeks permission to

      locate not only electronic evidence or information that might serve as direct

      evidence of the crimes described in this affidavit, but also for forensic electronic

      evidence or information that establishes how the digital device(s) were used,

      the purpose of their use, who used them (or did not), and when. Based on my

      knowledge, training, and experience, as well as information related to me by

      agents and others involved in this investigation and in the forensic examination

      of digital devices, I respectfully submit there is probable cause to believe that


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this forensic electronic evidence and information will be in any of the Target

Device(s) at issue here because:

a.           Although some of the records called for by this warrant might be

      found in the form of user-generated documents or records (such as word

      processing, picture, movie, or texting files), digital devices can contain

      other forms of electronic evidence as well. In particular, records of how

      a digital device has been used, what it has been used for, who has used

      it, and who has been responsible for creating or maintaining records,

      documents, programs, applications, and materials contained on the

      digital device(s) are, as described further in the attachments, called for

      by this warrant. Those records will not always be found in digital data

      that is neatly segregable from the hard drive, flash drive, memory card,

      or other electronic storage media image as a whole. Digital data stored

      in the Device(s), not currently associated with any file, can provide

      evidence of a file that was once on the storage medium but has since been

      deleted or edited, or of a deleted portion of a file (such as a paragraph

      that has been deleted from a word processing file). Virtual memory

      paging systems can leave digital data on a hard drive that show what

      tasks and processes on a digital device were recently used.          Web

      browsers, e-mail programs, and chat programs often store configuration


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      data on a hard drive, flash drive, memory card, or memory chip that can

      reveal information such as online nicknames and passwords. Operating

      systems can record additional data, such as the attachment of

      peripherals, the attachment of USB flash storage devices, and the times a

      computer, smart phone, or other digital device was in use. Computer,

      smart phone, and other digital device file systems can record data about

      the dates files were created and the sequence in which they were created.

      This data can be evidence of a crime, indicate the identity of the user of

      the digital device, or point toward the existence of evidence in other

      locations.   Recovery of this data requires specialized tools and a

      controlled laboratory environment, and also can require substantial

      time.

b.            Forensic evidence on a digital device can also indicate who has

      used or controlled the device.     This “user attribution” evidence is

      analogous to the search for “indicia of occupancy” while executing a

      search warrant at a residence.      For example, registry information,

      configuration files, user profiles, e-mail, e-mail address books, chats,

      instant messaging logs, photographs, the presence or absence of

      malware, and correspondence (and the data associated with the

      foregoing, such as file creation and last-accessed dates) may be evidence


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      of who used or controlled the digital device at a relevant time, and

      potentially who did not.

c.          A person with appropriate familiarity with how a digital device

      works can, after examining this forensic evidence in its proper context,

      draw conclusions about how such digital devices were used, the purpose

      of their use, who used them, and when.

d.          The process of identifying the exact files, blocks, registry entries,

      logs, or other forms of forensic evidence on a digital device that are

      necessary to draw an accurate conclusion is a dynamic process. While it

      is possible to specify in advance the records to be sought, digital device

      evidence is not always data that can be merely reviewed by a review

      team and passed along to investigators. Whether data stored on digital

      devices is evidence may depend on other information stored on the

      devices and the application of knowledge about how the devices behave.

      Therefore, contextual information necessary to understand other

      evidence also falls within the scope of the warrant.

e.          Further, in finding evidence of how a digital device was used, the

      purpose of its use, who used it, and when, sometimes it is necessary to

      establish that a particular thing is not present on the device.        For

      example, the presence or absence of counter-forensic programs, anti-


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            virus programs (and associated data), and malware may be relevant to

            establishing the user’s intent and the identity of the user.

           METHODS TO BE USED TO SEARCH DIGITAL DEVICES

74.   Based on my knowledge, training, and experience, as well as information

      related to me by agents and others involved in this investigation and in the

      forensic examination of digital devices, I know that:

      a.           Searching digital devices can be an extremely technical process,

            often requiring specific expertise, specialized equipment, and substantial

            amounts of time, in part because there are so many types of digital

            devices and software programs in use today. Digital devices – whether,

            for example, desktop computers, mobile devices, or portable storage

            devices – may be customized with a vast array of software applications,

            each generating a particular form of information or records and each

            often requiring unique forensic tools, techniques, and expertise. As a

            result, it may be necessary to consult with specially trained personnel

            who have specific expertise in the types of digital devices, operating

            systems, or software applications that are being searched, and to obtain




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      specialized hardware and software solutions to meet the needs of a

      particular forensic analysis.

b.           Digital data is particularly vulnerable to inadvertent or

      intentional modification or destruction. Searching digital devices can

      require the use of precise, scientific procedures that are designed to

      maintain the integrity of digital data and to recover “hidden,” erased,

      compressed, encrypted, or password-protected data.            Recovery of

      “residue” of electronic files from digital devices also requires specialized

      tools and often substantial time. As a result, a controlled environment,

      such as a law enforcement laboratory or similar facility, is often essential

      to conducting a complete and accurate analysis of data stored on digital

      devices.

c.           Further, as discussed above, evidence of how a digital device has

      been used, the purposes for which it has been used, and who has used it,

      may be reflected in the absence of particular data on a digital device. For

      example, to rebut a claim that the owner of a digital device was not

      responsible for a particular use because the device was being controlled

      remotely by malicious software, it may be necessary to show that

      malicious software that allows someone else to control the digital device

      remotely is not present on the digital device. Evidence of the absence of


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      particular data or software on a digital device is not segregable from the

      digital device itself.   Analysis of the digital device as a whole to

      demonstrate the absence of particular data or software requires

      specialized tools and a controlled laboratory environment, and can

      require substantial time.

d.            Digital device users can attempt to conceal data within digital

      devices through a number of methods, including the use of innocuous or

      misleading filenames and extensions.       For example, files with the

      extension “.jpg” often are image files; however, a user can easily change

      the extension to “.txt” to conceal the image and make it appear as though

      the file contains text. Digital device users can also attempt to conceal

      data by using encryption, which means that a password or device, such

      as a “dongle” or “keycard,” is necessary to decrypt the data into readable

      form.    Digital device users may encode communications or files,

      including substituting innocuous terms for incriminating terms or

      deliberately misspelling words, thereby thwarting “keyword” search

      techniques and necessitating continuous modification of keyword terms.

      Moreover, certain file formats, like portable document format (“PDF”),

      do not lend themselves to keyword searches. Some applications for

      computers, smart phones, and other digital devices, do not store data as


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      searchable text; rather, the data is saved in a proprietary non-text format.

      Documents printed by a computer, even if the document was never

      saved to the hard drive, are recoverable by forensic examiners but not

      discoverable by keyword searches because the printed document is

      stored by the computer as a graphic image and not as text. In addition,

      digital device users can conceal data within another seemingly unrelated

      and innocuous file in a process called “steganography.” For example, by

      using steganography, a digital device user can conceal text in an image

      file that cannot be viewed when the image file is opened. Digital devices

      may also contain “booby traps” that destroy or alter data if certain

      procedures are not scrupulously followed. A substantial amount of time

      is necessary to extract and sort through data that is concealed, encrypted,

      or subject to booby traps, to determine whether it is evidence,

      contraband, or instrumentalities of a crime.

e.           Analyzing the contents of mobile devices, including tablets, can

      be very labor intensive and also requires special technical skills,

      equipment, and software. The large, and ever increasing, number and

      variety of available mobile device applications generate unique forms of

      data, in different formats, and user information, all of which present

      formidable and sometimes novel forensic challenges to investigators that


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      cannot be anticipated before examination of the device. Additionally,

      most smart phones and other mobile devices require passwords for

      access.     For example, even older iPhone 4 models, running IOS 7,

      deployed a type of sophisticated encryption known as “AES-256

      encryption” to secure and encrypt the operating system and application

      data, which could only be bypassed with a numeric passcode. Newer

      cell phones employ equally sophisticated encryption along with alpha-

      numeric passcodes, rendering most smart phones inaccessible without

      highly sophisticated forensic tools and techniques, or assistance from the

      phone manufacturer. Mobile devices used by individuals engaged in

      criminal activity are often further protected and encrypted by one or

      more third party applications, of which there are many. For example,

      one such mobile application, “Hide It Pro,” disguises itself as an audio

      application, allows users to hide pictures and documents, and offers the

      same sophisticated AES-256 encryption for all data stored within the

      database in the mobile device.

f.              Based on all of the foregoing, I respectfully submit that searching

      any digital device for the information, records, or evidence pursuant to

      this warrant may require a wide array of electronic data analysis

      techniques and may take weeks or months to complete. Any pre-defined


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            search protocol would only inevitably result in over- or under-inclusive

            searches, and misdirected time and effort, as forensic examiners

            encounter technological and user-created challenges, content, and

            software applications that cannot be anticipated in advance of the

            forensic examination of the devices. In light of these difficulties, your

            affiant requests permission to use whatever data analysis techniques

            reasonably appear to be necessary to locate and retrieve digital

            information, records, or evidence within the scope of this warrant.

75.   In searching for information, records, or evidence, further described in

      Attachment B, law enforcement personnel executing this search warrant will

      employ the following procedures:

      a.    The digital devices, and/or any digital images thereof created by law

            enforcement, sometimes with the aid of a technical expert, in an

            appropriate setting, in aid of the examination and review, will be

            examined and reviewed in order to extract and seize the information,

            records, or evidence described in Attachment B.

      b.    The analysis of the contents of the digital devices may entail any or all of

            various forensic techniques as circumstances warrant. Such techniques

            may include, but shall not be limited to, surveying various file

            “directories” and the individual files they contain (analogous to looking


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      at the outside of a file cabinet for the markings it contains and opening a

      drawer believed to contain pertinent files); conducting a file-by-file

      review by “opening,” reviewing, or reading the images or first few

      “pages” of such files in order to determine their precise contents;

      “scanning” storage areas to discover and possibly recover recently

      deleted data; scanning storage areas for deliberately hidden files; and

      performing electronic “keyword” searches through all electronic storage

      areas to determine whether occurrences of language contained in such

      storage areas exist that are related to the subject matter of the

      investigation.

c.    In searching the digital devices, the forensic examiners may examine as

      much of the contents of the digital devices as deemed necessary to make

      a determination as to whether the contents fall within the items to be

      seized as set forth in Attachment B. In addition, the forensic examiners

      may search for and attempt to recover “deleted,” “hidden,” or encrypted

      data to determine whether the contents fall within the items to be seized

      as described in Attachment B. Any search techniques or protocols used




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             in searching the contents of the Target Device(s) will be specifically

             chosen to identify the specific items to be seized under this warrant.

              REQUEST TO SUBMIT WARRANT BY TELEPHONE
                OR OTHER RELIABLE ELECTRONIC MEANS

76.   I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

      Criminal Procedure, permission to communicate information to the Court by

      telephone in connection with this Application for a Search Warrant. I submit

      that Assistant U.S. Attorney Jennifer Leigh Blackwell, an attorney for the United

      States, is capable of identifying my voice and telephone number for the Court.

                                       CONCLUSION

77.   Based on the above factual information, I respectfully submit that there is

      probable cause to believe that evidence, fruits, and instrumentalities of criminal

      offenses in violation of 18 U.S.C. § 1752(a) (Restricted Entry), 40 U.S.C. §

      5104(e)(2) (Unlawful Activities on Capitol Grounds), 18 U.S.C. § 1512(c)(2)

      (Obstruction), and 18 U.S.C. § 922(g) (Unlawful Possession of a Firearm) may

      be found on the TARGET DEVICE described in Attachment A.




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